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 8                              IN THE UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                       CASE NO. 2:11-CR-427 LKK

12                                  Plaintiff,       ORDER

13                         v.

14   ALEXANDER KOKHANETS,
     BORIS MURZAK,
15   ZINAIDA MURZAK, and
     VITALIY TUZMAN,
16
                                    Defendants.
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18
            The government=s motion to dismiss the indictment against the above-named defendants in case
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     number 2:11-CR-427 LKK is granted. Fed. R. Crim. P. 48(a). The indictment, as to ALEXANDER
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     KOKHANETS, BORIS MURZAK, ZINAIDA MURZAK, and VITALIY TUZMAN, is hereby
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     dismissed without prejudice.
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23 DATE: July 22, 2014

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